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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO


IN RE ALEXANDER JOHNSON                          Bankruptcy Case No. 19-19816 EEB

               Debtor.



RITCHIE, DILLARD, DAVIES &                       U.S. District Court
JOHNSON, P.C.                                    Case No. 22-CV-00332 GPG

               Appellant,
       v.

M. STEPHEN PETERS, Chapter 7
Trustee,

               Appellee.


NOTICE OF BANKRUPTCY COURT APPROVAL OF TRUSTEE’S FINAL ACCOUNT
   AND DISTRIBUTION REPORT AND MINUTE ORDER ON CASE CLOSURE


        M. Stephen Peters, chapter 7 trustee (“Trustee”), by and through undersigned counsel,
hereby gives notice that the Bankruptcy Court has approved Trustee’s Final Account and
Distribution Report following a non-evidentiary hearing on the Objection of Ritchie, Dillard,
Davis & Johnson, P.C. to the same (the “Objection”). On April 5, 2022, the Bankruptcy Court
entered its Minute Order overruling the Objection and ordering the Clerk of the Court to close the
case in due course. Accordingly, the Bankruptcy Case is postured for closure.
       Dated this 4th day of May 2022.
                                  Respectfully submitted,

                                  WADSWORTH GARBER WARNER CONRARDY, P.C.
                                  /s/ Lindsay S. Riley
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 4th day of May 2022, I delivered a true and correct copy of
the foregoing via CM/ECF to the following:

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